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   1   Panteha Abdollahi, Esq.                     Derek T. Ho, Esq.*
       State Bar No. 230002                        Andrew E. Goldsmith, Esq.*
   2
       pabdollahi@tocounsel.com                    Matthew D. Reade, Esq.*
   3   THEODORA ORINGHER PC                        Kelley C. Schiffman, Esq.
       535 Anton Boulevard, Ninth Floor            State Bar No. 325023
   4
       Costa Mesa, California 92626-7109           Rachel T. Anderson, Esq.*
   5   Telephone: (714) 549-6200                   Annamaria M. Morales-Kimball, Esq.*
       Facsimile: (714) 549-6201                   Sean P. Quirk, Esq.*
   6
       Jeffrey L. Berhold, Esq.                    *Admitted Pro Hac Vice
   7   Admitted Pro Hac Vice                       dho@kellogghansen.com
       jeff@berhold.com                            agoldsmith@kellogghansen.com
   8
       JEFFREY L. BERHOLD, P.C.                    mreade@kellogghansen.com
   9                                               kschiffman@kellogghansen.com
       1230 Peachtree Street, Suite 1050
  10   Atlanta, Georgia 30309                      randerson@kellogghansen.com
       Telephone: (404) 872-3800                   amoraleskimball@kellogghansen.com
  11                                               squirk@kellogghansen.com
       Facsimile: (678) 868-2021
  12                                               KELLOGG, HANSEN, TODD,
       Joshua P. Davis, Esq.                       FIGEL & FREDERICK. P.L.L.C.
  13   State Bar No. 193254                        1615 M Street, N.W., Suite 400
       jdavis@bm.net                               Washington, DC 20036
  14   BERGER MONTAGUE PC                          Telephone: (202) 367-7900
  15   505 Montgomery St., Suite 625               Facsimile: (202) 326-7999
       San Francisco, California 94111
  16   Telephone: (415) 906-0684    Attorneys for Plaintiff
                                    INNOVATIVE HEALTH LLC
  17
                     UNITED STATES DISTRICT COURT
  18       CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
  19
       INNOVATIVE HEALTH LLC,                      Case No. 8:19-cv-1984 JVS (KES)
  20
                  Plaintiff,                       Assigned for all purposes to:
  21                                               Honorable James V. Selna
            vs.
  22
       BIOSENSE WEBSTER, INC.,                     PLAINTIFF INNOVATIVE
  23                                               HEALTH LLC’S L.R. 16-10
                  Defendant.                       TRIAL BRIEF
  24
  25                                               Date: April 14, 2025
                                                   Time: 11:00 a.m.
  26                                               Crtrm: 10C
                                                   Action Filed: October 18, 2019
  27
                                                   Trial Date: May 1, 2025
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   1         Pursuant to Local Rule 16-10, Innovative respectfully submits the following
   2 Trial Brief for the trial scheduled to commence on May 1, 2025. A Trial Brief
   3 should: “(a) Update the Memorandum of Contentions . . . by citing newly decided
   4 cases; (b) Brief such issues as directed by the Court; and (c) Reply to the
   5 Memorandum of Contentions . . . of any other party.” L.R. 16-10.
   6 A.      INTERVENING LAW SUPPORTS INNOVATIVE’S ALLEGATIONS
   7         The trial brief affords an opportunity to address “newly decided cases.” L.R.
   8 16-10(a). On April 17, 2025, Judge Leonie Brinkema of the Eastern District of
   9 Virginia, following a three-week bench trial and extensive post-trial filings, issued a
  10 decision in DOJ’s suit against Google. See United States v. Google, 2025 WL
  11 1132012, at *1 (E.D. Va. Apr. 17, 2025). That decision further supports
  12 Innovative’s allegations in multiple regards and is addressed herein as relevant.
  13 B.      PENDING LEGAL DISPUTES
  14         Both parties flagged (without argument) certain key legal disputes in their
  15 memorandum of contentions. See Dkt. 423 (Innovative’s Mem. of Contentions at
  16 16-17); Dkt. 425 (Biosense’s Mem. of Contentions at 25-26). Many of those
  17 disputes are addressed in the parties’ Proposed Post-Trial Jury Instructions. See
  18 Dkt. 441. Because the Court has not “directed” the parties to brief any issues in
  19 their trial briefs, L.R. 16-10, Innovative’s trial brief is confined to responding to
  20 only those issues affirmatively argued or misrepresented in Biosense’s
  21 memorandum of contentions. Innovative would be happy, however, to provide
  22 further briefing on any additional legal issue the Court might find helpful.
  23 C.      BIOSENSE MISSTATES INNOVATIVE’S CLAIMS AND THE RULE
  24         OF REASON AND ADVANCES IRRELEVANT DEFENSES
  25         Biosense’s memorandum of contentions misdescribes Innovative’s claims in
  26 several regards, incorrectly asserts that Innovative should not be allowed to present
  27 its Cartwright Act claims to the jury, mischaracterizes the rule of reason analysis,
  28 and advances several purported defenses that do not exist or do not apply here.

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   1         1.    Biosense Mischaracterizes Innovative’s Claims
   2               i.     Biosense inaccurately describes the alleged tie
   3         Biosense’s memorandum of contentions mischaracterizes the nature of the
   4 alleged tying arrangement. Biosense states that it is alleged to have “t[ied] the sale
   5 of each of its CARTO 3 sensor-enabled catheters at issue to its clinical support”
   6 because the “clinical support policy effectively forced customers to purchase the
   7 CARTO 3 sensor-enabled catheters at issue to obtain clinical support provided by
   8 [Biosense’s clinical support technicians].” Dkt. 425 (Biosense’s Mem. of
   9 Contentions at 6). This language incorrectly suggests that Biosense’s clinical
  10 support policy requires hospitals to buy all at-issue CARTO 3 sensor-enabled
  11 catheters (Lasso Nav, Pentaray, Octaray, SoundStar) to access Biosense’s clinical
  12 support. Instead, the policy requires that hospitals purchase whichever CARTO 3
  13 sensor-enabled catheters they use from either Biosense or Sterilmed to access
  14 Biosense’s clinical support. Thus, for example, a hospital need not purchase Lasso
  15 Navs and Pentarays and Octarays. What the policy requires is that the hospital
  16 purchase from Biosense/Sterilmed whichever of those sensor-enabled diagnostic
  17 catheters it uses if it wants to continue to have access to Biosense’s clinical support.
  18               ii.    Innovative will prove a CARTO 3 clinical support market
  19         Biosense asserts, without context, that “[Innovative] claims that it does not
  20 need to prove a clinical support market for its tying claims.” Dkt. 425 (Biosense’s
  21 Mem. of Contentions at 5 n.1). To be clear: Innovative intends to prove that there
  22 is a CARTO 3 clinical support market. What Innovative and Biosense disagree over
  23 is whether it is strictly necessary to define a market where there is direct evidence of
  24 market power. Ninth Circuit law favors Innovative’s position that direct evidence of
  25 market power can obviate the need for a precise market definition.
  26         The elements Innovative cites for its Sherman Act tying claim come directly
  27 from the ABA’s instructions for tying claims. Those instructions make clear that
  28 market power with respect to the tying product “may be proved either directly

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   1 through proof of defendant’s ability to control prices or reduce output, or through
   2 circumstantial evidence such as high share of the relevant market.” ABA Model
   3 Jury Instructions in Civil Antitrust Cases § 2.E.8; see also Epic Games, Inc. v.
   4 Apple, Inc., 67 F.4th 946, 983 (9th Cir. 2023) (describing difference between direct
   5 and indirect evidence). The relevant instruction for Innovative’s Cartwright Act is
   6 similar in this regard. See CACI No. 3420.
   7         This distinction matters because direct evidence of market power can obviate
   8 the need for precise market definition. “A plaintiff is not required to define a
   9 particular market for . . . a rule of reason claim based on evidence of the actual
  10 anticompetitive impact of the challenged practice,” PLS.com, LLC v. National Ass’n
  11 of Realtors, 32 F.4th 824, 838 (9th Cir. 2022), “such as reduced output, increased
  12 prices, or decreased quality in the relevant market,” id. at 834. Indeed, the Ninth
  13 Circuit recently reaffirmed that a market definition is not required where there is
  14 direct evidence of anticompetitive effects. See Shields v. World Aquatics, 2024 WL
  15 4211477, at *3 (9th Cir. Sept. 17, 2024) (“Even without a viable market definition,
  16 however, Plaintiffs have raised a triable dispute under the rule of reason through
  17 direct evidence of anticompetitive effects.”); see also FTC v. Indiana Fed’n of
  18 Dentists, 476 U.S. 447, 460-61 (1986) (“Since the purpose of the inquiries into
  19 market definition and market power is to determine whether an arrangement has the
  20 potential for genuine adverse effects on competition, ‘proof of actual detrimental
  21 effects, such as a reduction of output,’ can obviate the need for an inquiry into
  22 market power, which is but a ‘surrogate for detrimental effects.’”) (emphasis
  23 added); In re HIV Antitrust Litig., 656 F. Supp. 3d 963, 983 (N.D. Cal. 2023)
  24 (“product market definition matters where indirect evidence of market power is
  25 being considered; at this juncture the focus is on direct evidence”) (emphasis
  26 added). “Despite dicta in Qualcomm suggesting the contrary, [the Ninth Circuit]
  27 ha[s] never held that a precise market definition is an absolute requirement ‘in any
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   1 antitrust case.’” Epic Games, 67 F.4th at 974 n.6 (quoting FTC v. Qualcomm, 969
   2 F.3d 974, 992 (9th Cir. 2020)).
   3               iii.   Innovative alleges a sensor-enabled ultrasound catheters
   4                      market
   5        In the Final Pretrial Conference Order, Innovative alleges a market for
   6 “[s]ensor-enabled ultrasound catheters (Soundstar).” Dkt. 443 at 3. Consistent with
   7 that allegation, Innovative describes the market containing the SoundStar catheter as
   8 a market for “sensor-enabled ultrasound catheters” in its memorandum of
   9 contentions. See Dkt. 423 (Innovative’s Mem. of Contentions at 3). In describing
  10 this market, Biosense departs from Innovative’s phrasing to insert the qualifier
  11 “sensor-enabled ultrasound catheters for use with the CARTO 3.” Dkt. 425
  12 (Biosense’s Mem. of Contentions at 6) (emphasis added). That qualifier is not
  13 necessary because the SoundStar is the only sensor-enabled ultrasound catheter.
  14        As such, while Innovative will show all aftermarket lock-in factors for this
  15 market, such a showing is not strictly necessary because the switching
  16 considerations underlying Eastman Kodak do not apply where there is a unique
  17 product; a doctor wishing to use a sensor-enabled ultrasound catheter can only use a
  18 CARTO 3 machine, as no other cardiac mapping machine offers a sensor-enabled
  19 ultrasound catheter. The fact that SoundStars are disposable goods used with the
  20 CARTO 3 is not to the contrary. Not all cases involving a secondary product used
  21 with a primary durable good involve a single-brand aftermarket. See In re Google
  22 Play Store Antitrust Litig., 2024 WL 3302068, at *4-5 (N.D. Cal. July 3, 2024).
  23        Biosense also incorrectly asserts that this market definition is “a brand new
  24 theory advanced only in [Innovative’s] jury instructions.” Dkt. 425 (Biosense’s
  25 Mem. of Contentions at 25). Innovative has always noted the uniqueness of the
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  1 SoundStar in relation to its market definition.1 See Dkt. 59 (Corrected Second Am.
  2 Compl. at 8) (describing market for “3D navigational ultrasound catheters”); id. (“In
  3 lieu of the SOUNDSTAR, the physician can only use a non-navigational ultrasound
  4 catheter that connects separately to an ultrasound system”) (emphasis added); Dkt.
  5 146 (Opp’n to Mot. for Summ. J. at 19) (“Biosense, Sterilmed, Stryker, and
  6 Biosense sell SOUNDSTAR catheters, which are the only navigational ultrasound
  7 catheters for use with any cardiac mapping system.”); Dkt. 341-1 (Forister 2021
  8 Report ¶ 125 ) (“the unique feature of integrating the ultrasound display into the 3D
  9 map of the heart is only available with SOUNDSTAR”); id. ¶ 42 (“the CARTO
 10 family had the . . . first navigational ultrasound catheter (SOUNDSTAR)”); Dkt.
 11 341-4 (Forister 2024 Report ¶ 74) (“[T]he Soundstar is the only navigational
 12 ultrasound catheter. There is no rival system to which a customer could switch in
 13 order to use a navigational ultrasound catheter from a different OEM. As such,
 14 there is no foremarket competition that could constrain Biosense’s market power in
 15 an aftermarket for navigational ultrasound catheters.”).
 16        2.     Innovative Is Entitled To Present Its Cartwright Act Claims
 17        Biosense inappropriately argues that “[Innovative] should not be permitted to
 18 present the Cartwright Act claim to the jury.” Dkt. 425 (Biosense’s Mem. of
 19 Contentions at 5). Innovative pleaded Cartwright Act claims and preserved those
 20 claims on appeal, so Innovative should be able to present them at trial.
 21               i.    The Cartwright Act allows for nationwide damages
 22        Biosense’s sole argument for why Innovative should not be allowed to present
 23 Cartwright Act claims to the jury is that “[Innovative] cannot prove any relevant
 24 damages under the Cartwright Act.” Dkt. 425 (Biosense’s Mem. of Contentions at
 25 5). However, the Cartwright Act claims concern Biosense’s alleged tying
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           “3D navigational” and “navigational” are alternative ways to refer to the
 28 same “sensor-enabled” functionality that renders the SoundStar unique.

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  1 arrangement, and Dr. Forister has calculated damages resulting from that tying
  2 arrangement. See also In re Qualcomm Antitrust Litig., 292 F. Supp. 3d 948, 977
  3 (N.D. Cal. 2017) (“the Court rejects [Defendant’s] contention that Plaintiffs cannot
  4 plead both a Sherman Act § 2 claim and a Cartwright Act claim”). Biosense does
  5 not substantiate its damages argument in its memorandum of contentions. However,
  6 Biosense’s objection appears to rest on the mistaken view that nationwide damages
  7 are not available under the Cartwright Act, even where, as here, the alleged unlawful
  8 conduct emanated from California.
  9         While California recognizes a general “presumption against extraterritorial
 10 application of [California] law,” that presumption does not prevent California law
 11 from “reach[ing] any unlawful business act of practice committed in California.”
 12 Sullivan v. Oracle Corp., 51 Cal. 4th 1191, 1208 (2011). Accordingly, California
 13 courts have allowed nationwide class actions over unfair business practices to move
 14 forward under California law where the underlying conduct “emanated from
 15 California.” Clothsrigger, Inc. v. GTE Corp., 191 Cal. App. 3d 605, 613 (1997); see
 16 also Wershba v. Apple Computer, Inc., 91 Cal. App. 4th 224, 242 (2001) (certifying
 17 nationwide class where “the core decision at issue here, namely the change of policy
 18 made in October of 1997, was made at Apple’s headquarters in California”);
 19 Parkinson v. Hyundai Motor Am., 258 F.R.D. 580, 598-99 (C.D. Cal. 2008)
 20 (nationwide class action under California’s CLRA and UCL); Ehret v. Uber Techs.,
 21 Inc., 68 F. Supp. 3d 1121, 1130-31 (N.D. Cal. 2014) (“Multiple courts . . . have
 22 permitted the [extraterritorial] application of California law where the plaintiffs’
 23 claims were based on alleged misrepresentations that were disseminated from
 24 California.”). This application includes recovery of nationwide damages. See
 25 People v. Ashford Univ., LLC, 100 Cal. App. 5th 485, 518-24 (2024) (misconduct
 26 that “emanated” from California entitles out-of-state plaintiffs to recover under
 27 California law).
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  1         The same is true for the Cartwright Act because “California has an interest
  2 in . . . addressing [defendant’s] unlawful business activities in California and
  3 deter[ing] such anticompetitive conduct perpetuated by a resident California
  4 corporation.” In re Qualcomm, 292 F. Supp. 3d at 979. Thus, the Cartwright Act
  5 can apply nationally even when conduct only partly applies in California. See
  6 Knevelbaard Dairies v. Kraft Foods, Inc., 232 F.3d 979, 993-94 (9th Cir. 2000).
  7 “Neither the Sherman Act nor the federal prohibition of undue burdens on interstate
  8 commerce prevents [the Cartwright Act] from reaching transactions that have
  9 interstate aspects but significantly affect state interests.” Younger v. Jensen, 26 Cal.
 10 3d 397, 405 (1980).
 11               ii.    Innovative correctly articulates the Cartwright Act elements
 12         Biosense mistakenly asserts that the Cartwright Act does not allow per se
 13 tying claims. See Dkt. 425 (Biosense’s Mem. of Contentions at 15). Biosense cites
 14 only one California case in support, but that very case indicates that the elements
 15 Innovative intends to meet constitute “a per se tying arrangement violative of
 16 section 16720.” Morrison v. Viacom, Inc., 66 Cal. App. 4th 534, 541 (1998).
 17         The only other cases Biosense cites are federal antitrust cases. But “the
 18 California Supreme Court has consistently held that ‘[t]he Cartwright Act is broader
 19 in range and deeper in reach than the Sherman Act[.]’” In re California Gasoline
 20 Spot Mkt. Antitrust Litig., 2022 WL 3215002, at *2 (N.D. Cal. Aug. 9, 2022) (citing
 21 In re Cipro Cases I & II, 61 Cal. 4th 116, 160 (2015)); see also Cellular Plus, Inc. v.
 22 Superior Ct., 14 Cal. App. 4th 1224, 1242 (1993); Cianci v. Superior Court, 40
 23 Cal.3d 903, 920 (1985)). Indeed, the Ninth Circuit recently reaffirmed that
 24 California courts do not treat the Cartwright Act as “coextensive with the Sherman
 25 Act.” Sidibe v. Sutter Health, 103 F.4th 675, 685 (9th Cir. 2024) (quoting Samsung
 26 Elec. Co., Ltd. v. Panasonic Corp., 747 F.3d 1199, 1205 n.4 (9th Cir. 2014)). Thus,
 27 “[i]nterpretations of federal antitrust law are at most instructive, not conclusive,
 28 when construing the Cartwright Act, given that the Cartwright Act was modeled not

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  1 on federal antitrust statutes but instead on statutes enacted by California’s sister
  2 states around the turn of the 20th century.” Aryeh v. Canon Business Solutions, Inc.,
  3 55 Cal. 4th 1185, 1195 (2013). The role of the federal antitrust laws “is limited:
  4 they are ‘often helpful’ but not necessarily decisive.” Knevelbaard, 232 F.3d at 985.
  5         Accordingly, Biosense is mistaken in arguing that Innovative’s Cartwright
  6 Act instructions must include a rule of reason analysis. In Sidibe, the Ninth Circuit
  7 recently underscored that, under the Cartwright Act, “tying arrangements are per se
  8 illegal.” 103 F.4th at 693. The court described the application of the per se rule in
  9 the context of Cartwright Act tying claims: “alleged conduct is ‘conclusively
 10 presumed to be unreasonable and therefore illegal without elaborate inquiry as to the
 11 precise harm they have caused or the business excuse for their use.’” Id. (quoting
 12 N. Pac. Ry. Co. v. United States, 356 U.S. 1, 5 (1958)). The court further explained
 13 that defendant’s justifications are “irrelevant to per se violations.” Id. at 693 (citing
 14 UAS Mgmt. v. Mater Misericordiae Hosp., 169 Cal. App. 4th 357, 369 (2008)).
 15         The California Supreme Court has held: “Tying arrangements are illegal per
 16 se ‘whenever a party has sufficient economic power with respect to the tying
 17 product to appreciably restrain free competition in the market for the tied product’
 18 and when ‘a total amount of business, substantial enough in terms of dollar-volume
 19 so as not to be merely De minimis, is fore closed to competitors by the tie.” Corwin
 20 v. Los Angeles Newspaper Serv. Bureau, Inc., 4 Cal. 3d 842, 856-57 (1971).
 21         3.     Biosense Mischaracterizes the Rule of Reason Analysis
 22         The parties agree that Innovative’s Sherman Act claims are subject to the rule
 23 of reason, but they disagree as to certain aspects of the rule of reason.
 24                i.    The Ninth Circuit has a four-step rule of reason analysis
 25         The Ninth Circuit has articulated four steps in the rule of reason analysis:
 26     (1) Step 1: Anticompetitive Effects. Innovative bears an initial burden to prove
 27         that Biosense’s alleged conduct has anticompetitive effects. See Epic Games,
 28         67 F.4th at 971.

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  1     (2) Step 2: Procompetitive Rationale. The burden then shifts to Biosense “to
  2         show a procompetitive rationale.” Id. at 986-87 (cleaned up). This
  3         justification must be “a nonpretextual claim that [defendant’s] conduct is
  4         indeed a form of competition on the merits because it involves, for example,
  5         greater efficiency or enhanced consumer appeal—then the burden shifts back
  6         to the plaintiff to rebut that claim.” FTC v. Qualcomm Inc., 969 F.3d 974, 991
  7         (9th Cir. 2020) (quoting United States v. Microsoft Corp., 253 F.3d 34, 59
  8         (D.C. Cir. 2001)).
  9     (3) Step 3: Rebuttal of Procompetitive Rationale. Innovative then has an
 10         opportunity to rebut Biosense’s purported procompetitive justifications, either
 11         by showing they are pretextual, or by showing “substantially less restrictive
 12         alternatives.” Epic Games, 67 F.4th at 990; see also id. (“At step three of the
 13         Rule of Reason, ‘the burden shifts back to the plaintiff to demonstrate that the
 14         procompetitive efficiencies could be reasonably achieved through less
 15         anticompetitive means.’” (quoting NCAA v. Alston, 594 U.S. 69, 97 (2021)).
 16     (4) Step 4: Balancing. If a procompetitive benefit remains unrebutted, then the
 17         ultimate question is whether “the anticompetitive harm of the conduct
 18         outweighs the procompetitive benefit.” Qualcomm, 969 F.3d at 991.
 19               ii.    Biosense misdescribes the rule of reason analysis
 20         Biosense’s memorandum of contentions mischaracterizes the rule of reason
 21 analysis in at least three regards.
 22         First, Biosense misstates the requirements of step two. Biosense incorrectly
 23 claims that to meet its burden of showing a procompetitive justification, Biosense
 24 need only “assert” such a justification. See Dkt. 425 (Biosense’s Mem. of
 25 Contentions at 11). In fact, Biosense needs to “show a procompetitive rationale for
 26 the restraint.” Epic Games, 67 F.4th at 985; Ohio v. Am. Express Co., 585 U.S. 529,
 27 541 (2018) (“the burden shifts to the defendant to show a procompetitive rationale
 28 for the restraint”) (emphasis added); In re NCAA Grant-in-Aid Cap Antitrust Litig.,

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  1 958 F.3d 1239, 1256 (9th Cir. 2020) (defendant “must come forward with evidence
  2 of the restraint’s procompetitive effects”); id. at 1258 (defendant failed to show
  3 “concrete procompetitive effect”); see also Phillip E. Areeda & Herbert
  4 Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their
  5 Application § 1502 (“the burden passes to the defendant to offer evidence that a
  6 legitimate objective is served by the challenged behavior.”); High Tech. Careers v.
  7 San Jose Mercury News, 996 F.2d 987, 992 (9th Cir. 1993) (“the issue at trial” for
  8 evaluating a justification is whether the defendant “can prove its assertion”);
  9 Viamedia, Inc. v. Comcast Corp., 951 F.3d 429, 488 (7th Cir. 2020) (Brennan, J.,
 10 concurring) (“[The] “defendant bears the burden” of “proving procompetitive
 11 justification on the facts.”). Biosense plucks the “asserts” language from
 12 Qualcomm, which in turn quoted Microsoft. See Qualcomm, 969 F.3d at 991 (“If
 13 the monopolist asserts a procompetitive justification . . . .” (quoting Microsoft, 253
 14 F.3d at 59)). But Microsoft makes clear that the defendant must present “evidence
 15 demonstrating that the [alleged restrictions] have some such procompetitive
 16 justification.” Microsoft, 253 F.3d at 72 (emphasis added).
 17         Second, and relatedly, Biosense ignores that it must provide a “non-
 18 pretextual” justification. See Epic Games, 67 F.4th at 985. Thus, Innovative can
 19 refute Biosense’s justifications either by showing that there is a less restrictive
 20 alternative or by showing that the justifications are pretextual or unsubstantiated.
 21 See United States v. Google, 2025 WL 1132012, at *44 (“pretextual and
 22 unsubstantiated justifications are not ‘valid.’”). Given this rule, courts (and jurors)
 23 may give “greater weight to the contemporaneous statements contained in the
 24 company’s internal records, than to later trial testimony in which its employees
 25 declined to ratify those statements.” Id. (cleaned up).
 26         Lastly, Biosense incorrectly portrays the fourth balancing step as perfunctory.
 27 See Dkt 425 (Biosense’s Mem. of Contentions at 12). The rule of reason’s fourth
 28 step can have real teeth and “courts frequently balance the restriction’s

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  1 anticompetitive harms against its procompetitive benefits” in assessing the validity
  2 of proffered justifications. Id. (citing cases including Epic Games and Qualcomm).
  3 Indeed, Judge Brinkema recently rejected procompetitive justifications advanced by
  4 Google in part because “any procompetitive benefits of [Google’s] conduct were far
  5 outweighed by its anticompetitive effects.” Id.
  6         4.    Biosense Mischaracterizes Innovative’s Aftermarket Analysis
  7         Biosense has repeatedly mischaracterized Innovative’s position on Eastman
  8 Kodak aftermarket analysis. Biosense has fixated on Innovative’s occasional
  9 references to Lambrix v. Tesla, 737 F. Supp. 3d 822 (N.D. Cal. 2024), while also
 10 misconstruing the aspect of Lambrix to which Innovative has cited. Innovative’s
 11 proposed aftermarket jury instructions, not Biosense’s caricature of Lambrix, are the
 12 proper measure of Innovative’s position on Eastman Kodak aftermarket analysis.
 13 As those instructions reflect, Innovative properly treats Biosense’s foremarket
 14 market power as relevant to (and not a replacement for) an Eastman Kodak analysis.
 15         The definitive case on single-brand aftermarkets is Eastman Kodak Co. v.
 16 Image Tech. Servs., Inc., 504 U.S. 451 (1992). The question presented was
 17 “whether a defendant’s lack of market power in the primary equipment market
 18 precludes—as a matter of law—the possibility of market power in derivative
 19 markets.” Id. at 451. This question arose because Kodak, which was accused of
 20 unlawful tying and monopolization of the aftermarket for Kodak repair services,
 21 lacked market power in the relevant copier foremarket. See id. at 466 n.10. Kodak
 22 argued that “because competition exists in the equipment market,” it necessarily
 23 lacked the requisite market power in the aftermarket. The Supreme Court rejected
 24 that bright-line rule and held that what mattered was whether competition in “the
 25 equipment [fore]market . . . discipline[s] the aftermarkets so that all [products] are
 26 priced competitively overall.” Id. at 486. The Court made clear that this is a
 27 holistic “factor”-based inquiry based on “actual market realities.” Id. at 466-76.
 28 The Court further articulated several market imperfections, including “significant

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  1 information and switching costs,” that could allow Kodak to have market power in
  2 the aftermarket even absent foremarket power.
  3         The Ninth Circuit, in Epic Games, summarized the four “single-brand
  4 aftermarket” factors from Eastman Kodak. See 67 F.4th at 977. But the Ninth
  5 Circuit also noted that Eastman Kodak addressed a situation where the foremarket
  6 purchase was made in an “initial (competitive) market.” Id. at 978. Citing that
  7 language, the district court in Lambrix observed that “[f]rom a practical perspective,
  8 the relevance of information costs, switching costs, and general knowledge of
  9 restrictions is reduced where a defendant has market power in the foremarket.” 737
 10 F. Supp. 3d at 841. The court in Lambrix, however, also considered the four
 11 Eastman Kodak factors as well in assessing the plaintiff’s alleged single-brand
 12 aftermarket claims.
 13         Innovative’s position is that both foremarket market power and the Eastman
 14 Kodak factors are relevant to an aftermarket analysis. Eastman Kodak leaves no
 15 doubt that market power in the foremarket is relevant to assessing whether “the
 16 equipment [fore]market … discipline[s] the aftermarkets so that all [products] are
 17 priced competitively overall.” 504 U.S. 451 at 486. After all, a defendant’s market
 18 power in the foremarket affects the degree of foremarket competition. However, the
 19 Eastman Kodak factors also remain highly relevant to that assessment regardless of
 20 whether the defendant has foremarket market power. Thus, Innovative’s proposed
 21 aftermarket jury instruction directs jurors to consider both factors in assessing the
 22 central Eastman Kodak question: whether “Biosense is able to force customers to
 23 pay prices above competitive levels in the alleged CARTO 3 catheter aftermarkets
 24 without causing a substantial number of customers to switch to or choose competing
 25 cardiac mapping machines.” Dkt 441 (Proposed Jury Instructions at 157).
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  1         5.    Biosense’s Asserted Defenses Are Contrary to Law
  2               i.     There is no “business justification” defense
  3         Biosense incorrectly asserts a “business justification” defense that it treats as
  4 distinct from the rule of reason’s “procompetitive justifications” inquiry, and that it
  5 claims requires only two elements: (1) “a legitimate business purpose,” for which
  6 (2) “[t]here is no substantially less restrictive alternative.” Dkt. 425 (Biosense’s
  7 Mem. of Contentions at 19-20). Biosense does not include any requirement that the
  8 justification be “procompetitive” and “non-pretextual,” or that the factfinder
  9 “balance the harms and the benefits” of the challenged conduct. Epic Games, 67
 10 F.4th at 971, 993.
 11         The Ninth Circuit does not recognize such a “business justifications” defense.
 12 The Ninth Circuit acknowledges two strands of tying law under the Sherman Act:
 13 per se tying claims and rule of reason tying claims. See Epic Games, 67 F.4th at
 14 974, 997; Cnty. of Tuolumne v. Sonora Cmty. Hosp., 236 F.3d 1148, 1157 (9th Cir.
 15 2001). Innovative’s Sherman Act claim falls within the second. For such claims,
 16 the Ninth Circuit law does not recognize a “business justification” defense in
 17 addition to the analysis of procompetitive justifications. See Epic Games, 67 F.4th
 18 at 973, 987-88 (analyzing Apple’s justifications as “procompetitive justifications”
 19 only); Tuolomne, 236 F.3d at 1158-59 (assessing defendant’s justifications under the
 20 rule of reason framework only); Teradata Corp. v. SAP SE, 124 F.4th 555, 565, 571
 21 (9th Cir. 2024) (analyzing only “procompetitive justifications” under four-step rule
 22 of reason analysis); see also United States v. Google, 2025 WL 1132012, at *44
 23 (equating “valid business reasons” with “procompetitive justifications” under rule of
 24 reason).
 25         Indeed, Epic Games emphasized that there is no “exemption from the Rule of
 26 Reason.” Epic Games, 67 F.4th at 988 (citing Indiana Fed’n of Dentists, 476 U.S.
 27 at 465). An exemption is exactly what Biosense is requesting with its business
 28 justification defense. That defense, as Biosense describes it, requires neither that the

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  1 justification be procompetitive (i.e., that it benefit competition), nor that any
  2 procompetitive benefits be weighed against the tying arrangement’s anticompetitive
  3 effects, as required under the rule of reason.
  4         Further, the Ninth Circuit has already made clear that Biosense’s justifications
  5 should be analyzed under the rule of reason. Biosense raised its “business
  6 justification defense” in its briefing before the Ninth Circuit on appeal. See
  7 Appellee’s Answering Br., Innovative Health LLC v. Biosense Webster, Inc.,
  8 No. 22-55413, 2022 WL 17476831, at *3 (9th Cir. Nov. 3, 2022). The Ninth
  9 Circuit, however, in accordance with Ninth Circuit law, construed that as a request
 10 to present “procompetitive justifications” and explained the requirements for
 11 offering procompetitive justification, which differ from those Biosense now
 12 advances in connection with its purported business justifications defense. See
 13 Innovative Health LLC v. Biosense Webster, Inc., 2024 WL 62948, at *3-4 (9th Cir.
 14 Jan. 5, 2024).
 15         Biosense gets its business justifications defense from the ABA Model Jury
 16 Instructions in Civil Antitrust Cases. See Dkt. 441 (Proposed Jury Instructions at
 17 101-104). But the ABA itself recognizes that “[t]he Supreme Court has not
 18 expressly accepted the validity of the business justification defense.” Comment to
 19 ABA Model Jury Instructions in Civil Antitrust Cases § 2.E.11. Instead, both the
 20 ABA and Biosense cite to an older Ninth Circuit case: Mozart Co. v. Mercedes-
 21 Benz of N. Am., Inc., 833 F.2d 1342 (9th Cir. 1987). However, Mozart concerned
 22 only a per se tying claim under Section 1. See id. at 1348 (“We have recognized
 23 that antitrust defendants may demonstrate a business justification for an otherwise
 24 per se illegal tying arrangement.”) (emphasis added).
 25         Moreover, the court decided Mozart during a period of rapid evolution in
 26 tying doctrine as scholars and courts began to reconsider the view, undergirding
 27 then-existing per se tying law, that “tying arrangements generally served no
 28 legitimate business purpose[.]” Fortner Enters., Inc. v. U.S. Steel Corp., 394 U.S.

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  1 495, 503 (1969); see also Microsoft, 253 F.3d at 84-90 (recounting some of this
  2 history). The eventual outcome of this evolution in the Ninth Circuit was a
  3 preference for handling Sherman Act tying claims under the rule of reason—not the
  4 implementation of a “business justification” defense. Thus, while Mozart and older
  5 Ninth Circuit caselaw may reference “business justifications” as part of this
  6 doctrinal evolution, that does not reflect current black letter law in the Ninth Circuit.
  7 In fact, neither Tuolumne, nor Epic Games, nor Teradata even cite Mozart on this
  8 issue.
  9          Biosense also cites to language about “business justifications” in Image Tech.
 10 Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195 (9th Cir. 1997). See Dkt. 441
 11 (Proposed Jury Instructions at 154). But that language is inapposite. Unlike this
 12 case, the plaintiff there proceeded to verdict on remand on a Section 2 refusal to deal
 13 claim rather than a tying claim under Section 1 or Section 2. Kodak had rescinded
 14 its policy of selling parts directly to independent service organizations. Image Tech.
 15 Servs., 125 F.3d at 1201. The discussion of “business justifications” in Eastman
 16 Kodak occurs only in relation to the Section 2 refusal to deal claim, which
 17 represents a different body of law. See id. at 1212. Moreover, even as to that other
 18 body of law, the Ninth Circuit held that the justification had to be procompetitive.
 19 See id. (“A plaintiff may rebut an asserted business justification by demonstrating
 20 . . . that the justification does not legitimately promote competition[.]”).
 21          Finally, Biosense has also cited the fact that a “business justification”
 22 instruction was given in Epic Games, Inc. v. Google LLC, 3:20-cv-05671-JD (N.D.
 23 Cal. Dec. 6, 2023), Dkt. 592 and Surgical Instrument Serv. Co. v. Intuitive Surgical,
 24 Inc., No. 3:21-03496-AMO (N.D. Cal. January 27, 2025) Dkt. 435-1. See Dkt. 441
 25 (Proposed Jury Instructions at 104). But that is unsurprising given the weight that
 26 the model ABA instructions carry for many practitioners and judges. See, e.g., Tr.,
 27 Surgical Instrument Serv. Co. v. Intuitive Surgical, Inc., No. 3:21-03496-AMO
 28 (N.D. Cal. Jan. 27, 2025), Dkt. 458 (denying a request to omit the instruction for the

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  1 sole reason that the “ABA instructions are clear” about including it). That does not
  2 change the fact, however, that the ABA instructions clearly conflict with Ninth
  3 Circuit law.
  4                ii.    Unilateral duty to deal doctrine does not apply to this case
  5         Biosense advances a “no duty to deal” defense, see Dkt. 425 (Biosense’s
  6 Mem. of Contentions at 21), but that defense is inapplicable here. Biosense
  7 improperly conflates the alleged tying arrangement imposed on hospitals with an
  8 antitrust duty to deal with Innovative. A no-duty-to-deal defense applies only where
  9 alleged antitrust liability turns on “a firm’s unilateral refusal to deal with its rivals.”
 10 Pac. Bell Tel. Co. v. linkLine Commc’ns, Inc., 555 U.S. 438, 448 (2009) (discussing
 11 Verizon Commc’ns Inc. v. L. Offs. of Curtis V. Trinko, LLP, 540 U.S. 398 (2004)).
 12 Innovative’s tying allegations do not fit that mold because they challenge Biosense’s
 13 affirmative coercion of hospitals, not a refusal to deal with Innovative.
 14         Unilateral duty to deal doctrine applies when a competitor plaintiff seeks to
 15 trade directly with the defendant. See, e.g., Qualcomm, 969 F.3d at 995 (Qualcomm
 16 had no “antitrust duty to license rival chip manufacturers”). Innovative does not
 17 seek to trade with Biosense or enter any agreement to deal with Biosense. Instead,
 18 Innovative challenges the tie that Biosense imposes on hospitals requiring hospitals
 19 to use its catheters if the hospitals want Biosense’s clinical support for the CARTO
 20 3 machine. This distinction between a refusal to deal with a rival and a genuine
 21 tying claim affecting third-party customers is well recognized in the Ninth Circuit.
 22 See Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1178 (9th Cir. 2016)
 23 (distinguishing Aerotec’s refusal to deal claim, based on Honeywell’s refusal to sell
 24 Aerotec parts, from the actual tying arrangement in Eastman Kodak Co. v. Image
 25 Tech. Servs., Inc., 504 U.S. 451, 463 (1992) where Kodak “would sell parts to third
 26 parties only if they agreed not to buy service from independent service operators.”
 27 (emphasis added)). In short, unilateral refusal to deal doctrine does not apply here
 28 because the challenged conduct is not a unilateral refusal to do business with

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  1 Innovative, but a bilateral tying arrangement forcing hospitals not to do business
  2 with Innovative.
  3         Indeed, it is well-established that the no-duty-to-deal defense does not apply
  4 to tying arrangements (whether raised as part of a Section 1 or Section 2 claim).
  5 The defendant in Eastman Kodak tried to press a no-duty-to-deal argument, but the
  6 Court rejected it, citing the fact that plaintiffs brought a tying claim: “Assuming,
  7 arguendo, that Kodak’s refusal to sell parts to any company providing service can
  8 be characterized as a unilateral refusal to deal, its alleged sale of parts to third
  9 parties on condition that they buy service from Kodak is not.” Eastman Kodak, 504
 10 U.S. at 463 n.8 (emphasis added). Thus, Eastman Kodak leaves no doubt that tying
 11 arrangements are not refusals to deal. There is no reason to think that Trinko—
 12 which mentioned neither tying nor Eastman Kodak—changed this black letter law.
 13 Tying does not involve an unconditional refusal to deal with a rival. Instead, it
 14 involves a conditional sale to customers to “interfere[] with the relationship”
 15 between those customers and rivals. FTC v. Facebook, Inc., 560 F. Supp. 3d 1, 28
 16 (D.D.C. 2021). “Conditional dealing schemes are thus categorically different from
 17 unilateral conduct that involves only the monopolist’s competitors, such as its
 18 refusal to deal with them.” Id.
 19         Judge Brinkema recently rejected Google’s request for a “no duty to deal”
 20 defense to both Section 1 and Section 2 claims in DOJ’s suit against Google for
 21 these very reasons:
 22         The refusal to deal doctrine in Trinko does not apply to Google’s
 23         conduct at issue. Courts have declined to “extend[ ] a refusal-to-deal-
 24         with-rivals analysis” to anticompetitive restraints that a monopolist
 25         places on its customers, as opposed to its competitors. Chase Mfg., 84
 26         F.4th at 1173; see also Kodak, 504 U.S. at 463 n.8; Lorain Journal, 342
 27         U.S. at 152–53. Courts have also “contrast[ed]” the “[r]efusal to deal
 28         doctrine” from “a monopolist’s more direct interference with rivals,”

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  1        such as “limit[ing] the abilities of third parties to deal with rivals
  2        (exclusive dealing)” or “requir[ing] third parties to purchase a bundle of
  3        goods rather than just the ones they really want (tying).” Novell, 731 F.3d
  4        at 1072, 1076. Here, Google has engaged in tying that … had the
  5        anticompetitive effect of limiting Google’s publisher customers’ choice
  6        of publisher ad server for reasons other than competition on the
  7        merits. … Although such tying, like other anticompetitive and restrictive
  8        conditions on customers, can be conceptualized as a “conditional refusal[
  9        ] to deal,” that does not mean it should be assessed as a “simple refusal
 10        to deal” with rivals, which was the alleged harm in Trinko. Viamedia,
 11        951 F.3d at 453. Rather, as the Supreme Court reasoned in Kodak, even
 12        if the refusal to sell a product to rivals could “be characterized as a
 13        unilateral refusal to deal,” the sale of a tying product to “third parties”
 14        on the “condition that they buy” a tied product does not fit within the
 15        ambit of the refusal to deal exception to antitrust liability. 504 U.S. at
 16        463 n.8. That is why a tying claim “does not fail as a matter of law simply
 17        because it was implemented by refusing to deal with an
 18        intermediary.” Viamedia, 951 F.3d at 472.
 19 United States v .Google, 2025 WL 1132012, at *43.
 20        Biosense points to the no-duty-to-deal instruction in Epic Games v. Google.
 21 See Dkt. 441 (Proposed Jury Instructions at 103-104). However, there is no need for
 22 a similar cautionary instruction here because the jury will not hear evidence that
 23 Biosense refuses to sell Innovative’s catheters. In Epic Games v. Google, the
 24 Court—citing Trinko—granted summary judgment to Google on plaintiffs’
 25 allegation that “Google unlawfully prohibits the distribution of other app stores on
 26 Google Play” through its Developer Distribution Agreement (“DDA”). See Pretrial
 27 Order at 1, Epic Games, Inc. v. Google LLC, No. 3:21-md-02981-JD, Dkt. 700. The
 28 Court issued the no-duty-to-deal instruction because counsel nonetheless introduced

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  1 at trial “evidence that Google’s [DDA] prohibits the distribution of other app stores
  2 through the Google Play Store.” Dkt. 850 (Final Jury Instructions at 33). There is
  3 no similar evidence here.
  4         Moreover, subsequent developments cast doubt on the appropriateness of the
  5 Epic Games v. Google instruction. Apple raised similar no-duty-to-deal arguments
  6 in Epic Games v. Apple by arguing that its Developer Program Licensing Agreement
  7 (“DPLA”) was a lawful refusal to deal. See Appellee/Cross-Appellant Principal &
  8 Resp Br., Nos. 21-16506 & 21-16695, Dkt. 93 at 62-66. The Ninth Circuit
  9 disregarded those arguments and emphasized that the DPLA is a bilateral restraint.
 10 See Epic Games, 67 F.4th at 982; see also id. at 984 n.14; cf. Def.’s Mot. for Partial
 11 Summ. J. at 8, Epic Games, Inc. v. Google LLC, No. 3:21-md-02981-JD, Dkt. 483
 12 (“The DDA is unilateral conduct and cannot give rise to a Section 1 claim”).
 13               iii.   There is no “duty to aid” defense in this case
 14         Biosense also references a “no duty to aid” defense. See Dkt 425 (Biosense’s
 15 Mem. of Contentions at 21). To the extent Biosense derives this defense from
 16 Trinko, it is no different than the “no duty to deal” just discussed. To the extent
 17 Biosense derives this defense from Allied Orthopedic Appliances Inc. v. Tyco
 18 Health Care Group LP, 592 F.3d 991 (9th Cir. 2010), and means for it to apply to
 19 Innovative’s allegations regarding Biosense’s blocking technology, Biosense omits
 20 half of the relevant law. The other half makes clear that “changes in product design
 21 are not immune from antitrust scrutiny and in certain cases may constitute an
 22 unlawful means of maintaining a monopoly under Section 2.” Id. at 998; see also
 23 NCAA, 594 U.S. at 101 (stating a defendant is not permitted to “relabel a restraint
 24 [on trade] as a product feature and declare it immune from” antitrust
 25 scrutiny). Specifically, a Section 2 violation may occur where—as is alleged here—
 26 a product design does not “provid[e] a new benefit to consumers” and there is
 27 “associated anticompetitive conduct.” Allied Orthopedic Appliances, 592 F.3d at
 28 999.

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  1         The court in United States v. Google reiterated this principle just last week in
  2 rejecting Google’s argument that Google was “shielded from antitrust liability
  3 because [its product and policy changes] involved product design choices.” 2025
  4 WL 1132012, at *46. The Court held that “‘product redesign is anticompetitive
  5 when it coerces consumers and impedes competition,’ which Google’s actions did
  6 here.” Id. (quoting New York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638,
  7 652 (2d Cir. 2015)). Similarly, Biosense’s product design and “associated conduct,”
  8 including “tying agreements” and “product disparagement,” is exclusionary because
  9 its “overall effect” is “to coerce consumers to purchase [its products] over
 10 [Innovative’s products], rather than to compete on the merits.” In re Keurig Green
 11 Mountain Single-Serve Coffee Antitrust Litig., 383 F. Supp. 3d 187, 230 (S.D.N.Y.
 12 2019); see also United States v. Google LLC, 2025 WL 1132012 at *46 (quoting
 13 same). The Court should thus reject Biosense’s contention that there is a general
 14 “no-duty-to-aid-competitors” defense.
 15         6.    Biosense Incorrectly Asserts that Innovative Cannot Prove
 16               Antitrust Injury or Damages
 17         Biosense has suggested that, without the tie, Biosense necessarily would
 18 charge customers for clinical support, decreasing or eliminating customers’ savings
 19 from buying reprocessed catheters rather than new ones. See, e.g., Dkt. 341
 20 (Biosense Daubert Mot. at 36-38) (same). Biosense has claimed that Siegel v.
 21 Chicken Delight, Inc., 448 F.2d 43, 52 (9th Cir. 1971) adopted this principle. See,
 22 e.g., Dkt. 341 (Biosense Daubert Mot. at 10). Biosense also asserts that Dr. Forister
 23 fails to analyze the effect of Biosense’s tie on the combined price customers pay for
 24 clinical support and catheters. Biosense is incorrect on all points.
 25         The very cases that Biosense cites hold that it is an issue of fact—one that
 26 depends on the evidence—whether an antitrust defendant would increase prices for
 27 its tying product if forced to eliminate a tie and, if so, by how much. See U.S. Steel
 28 Corp. v. Fortner Enterprises, Inc., 429 U.S. 610, 618 (1977); Chicken Delight, 448

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  1 F.2d at 52. Indeed, a district court just last month rejected an antitrust defendant’s
  2 misinterpretation of Chicken Delight just like Biosense’s. See In re Da Vinci
  3 Surgical Robot Antitrust Litig., 2025 WL 964879, at *10 (N.D. Cal. Mar. 31, 2025).
  4 Da Vinci also rejected the economic theory that any decreases in tying product
  5 prices necessarily are offset by increases in tied product prices. See id.
  6         Dr. Forister presents economic evidence and analyses demonstrating that,
  7 without Biosense’s tie, Biosense would not charge for clinical support while at the
  8 same time many customers would pay less for catheters because of reprocessing.
  9 See, e.g., Dkt. 341-3 (Forister 2025 Rebuttal ¶ 70 n.103). And Dr. Forister explains
 10 why Biosense would not charge for clinical support without the tie: Biosense wants
 11 its clinical support specialists in as many hospitals and other medical settings as
 12 possible so they can increase catheter sales, obtain firsthand market information, and
 13 enhance brand loyalty. See id. at ¶¶ 71, 257; Dkt. 341-1 (Forister 2021 Report
 14 ¶ 155).
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  1 DATED: April 24, 2025             THEODORA ORINGHER PC
  2
  3
                                      By:         /s/ Panteha Abdollahi
  4
                                            Panteha Abdollahi
  5
  6                                   JEFFREY L. BERHOLD, P.C.
  7
  8
                                      By:          /s/ Jeffrey L. Berhold
  9
                                            Jeffrey L. Berhold
 10
                                      BERGER MONTAGUE PC
 11
 12
 13                                   By:         /s/ Joshua P. Davis
 14                                         Joshua P. Davis
                                            Matthew Summers
 15
 16                                   KELLOGG, HANSEN, TODD, FIGEL & FREDERICK,
                                      P.L.L.C.
 17
 18
 19                                   By:         /s/ Andrew E. Goldsmith
 20                                         Derek T. Ho
                                            Andrew E. Goldsmith
 21
                                            Matthew D. Reade
 22                                         Kelley C. Schiffman
                                            Rachel T. Anderson
 23
                                            Annamaria M. Morales-Kimball
 24                                         Sean P. Quirk
 25
 26                                         Attorneys for Plaintiff
                                            INNOVATIVE HEALTH LLC
 27
 28

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                                  PLAINTIFF’S TRIAL BRIEF
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  1                        CERTIFICATE OF COMPLIANCE
  2        The undersigned, counsel of record for Plaintiff Innovative Health LLC,
  3 certifies that this brief contains 6,582 words, which complies with the word limit of
  4 Central District of California Local Rule 11-6.1.
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  6 DATED: April 24, 2025                KELLOGG, HANSEN, TODD, FIGEL & FREDERICK,
                                         P.L.L.C.
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  8
  9                                      By:        /s/ Andrew E. Goldsmith
 10                                            Andrew E. Goldsmith
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